Case 1:20-cv-22309-RNS Document 22 Entered on FLSD Docket 09/21/2020 Page 1 of 1



                             United States District Court
                                       for the
                             Southern District of Florida

   Richard Stearns-Miller, Plaintiff,)
                                     )
   v.                                )
                                       Civil Action No. 20-21659-Civ-Scola
                                     )
   Florida Department of Corrections )
   Secretary and others, Defendants.

        Order Adopting Magistrate Judge’s Report And Recommendation
         This case was referred to United States Magistrate Judge Lisette M. Reid,
  consistent with Administrative Order 2019-02 of this Court, for a ruling on all
  pre-trial, nondispositive matters and for a report and recommendation on any
  dispositive matters. On August 24, 2020, Judge Reid issued a report,
  recommending that this Court dismiss Plaintiff’s petition and that all pending
  motions be denied as moot. (Report of Magistrate, ECF No. 21.) The Plaintiff has
  not filed objections to the report, and the time to do so has passed.
         The Court has considered Judge Reid’s report, the record, and the relevant
  legal authorities. The Court finds Judge Reid’s report and recommendation
  cogent and compelling. The Court affirms and adopts Judge Reid’s report and
  recommendation. (ECF No. 17.) Accordingly, the Clerk is directed to dismiss the
  petition (ECF No. 1) and deny as moot all pending motions. The Clerk is further
  directed to close this case.
         Done and ordered, at Miami, Florida, on September 18, 2020.

                                              _______________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
